                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                          Plaintiff,               )
                                                   )
       vs.                                         )       No. 16-03078-01-CR-S-BCW
                                                   )
BRYAN BINGHAM,                                     )
                                                   )
                          Defendant.               )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count One and

admitted to the Forfeiture Allegation contained in the Indictment filed on July 19, 2016, is now

Accepted and the Defendant is Adjudged Guilty of such offense. Sentencing will be set by

subsequent Order of the Court.




                                                           /s/ Brian C. Wimes
                                                           BRIAN C. WIMES
                                                   UNITED STATES DISTRICT JUDGE




Date: September 22, 2017




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